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MOSER LAW FIRM, PC ¢ avs

Steven J. Moser “
Tel: 631-824-0200
steven.moser@moserlawfirm.com

 

June 10, 2022

VIA ECF

Hon. Stewart D. Aaron, USMJ | ELECTRONICALLY FILED
Daniel Patrick Moynihan United States Courthouse

500 Pearl Street

DOC #:
New York, NY 10007 DATE FILED:___ 06/10/2022

 

Re: Alvarez v. Kelco Landscaping, Inc. et al., Case No. 21-cv-09014-PAE-SDA
Dear Judge Aaron:

I represent the Plaintiffs in the above captioned action. Today is the current deadline for
Plaintiff's motion for conditional certification. I write to request a two week extension, on
consent, of all dates in the current briefing schedule. The reason for this request is that the

parties are seriously exploring mediation as well as mutually-agreeable mediators.

Respectfully submitted,

Dewen ” Wier

Steven J. Moser

CC: All counsel of record via ECF

Request GRANTED. SO ORDERED.
Dated: June 10, 2022

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5 E. MAIN ST, HUNTINGTON, NY 11743
WWW.MOSEREMPLOY MENTLAW.COM
